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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,             )
                                       )
              Plaintiff,               )
                                       )
              v.                       )                       Case No. 13-cv-1832 (JDB)
                                       )
 ALL ASSETS HELD IN ACCOUNT NUMBER )
 80020796, IN THE NAME OF              )
 DORAVILLE PROPERTIES CORPORATION, )
 AT DEUTSCHE BANK INTERNATIONAL,       )
 LIMITED IN JERSEY, CHANNEL ISLANDS,   )
 AND ALL INTEREST, BENEFITS, OR ASSETS )
 TRACEABLE THERETO, et al.,            )
                                       )
              Defendants.              )
                                       )


MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF JOINT MOTION
                TO AMEND SCHEDULING ORDER

       Pursuant to Federal Rule of Civil Procedure 16(b)(4) and Local Rule of Civil Procedure

16.4(a), Claimant Ibrahim Bagudu and Plaintiff United States of America (collectively, the

“Parties”) respectfully move to Amend this Court’s April 29, 2015 Scheduling Order, as most

recently amended on March 3, 2022.

                                         BACKGROUND

       On December 28, 2021, the Court issued a Minute Order (the “December 28 Minute

Order”) that set forth a schedule for service of rebuttal expert reports, the conclusion of the

further deposition of Claimant, expert depositions, and summary judgment briefing. Since the

Court’s December 28 Minute Order, the parties have served their expert rebuttal reports, have

concluded Claimant’s further deposition, and have conducted three of the eight expert

depositions noticed by the Parties. The Parties were working diligently to complete all expert
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depositions and had scheduled them all to be completed by the June 10, 2021 deadline set by the

Court in its December 28 Minute Order.

       Unfortunately, following the last deposition conducted on May 19, 2022, multiple

attorneys and/or their family members contracted COVID-19 and are presently continuing to

recover, and other attorneys were exposed to close contacts with COVID-19. Over safety and

health concerns, the Parties adjourned the remaining five depositions. The Parties respectfully

request the Court to amend the expert deposition deadline set forth in the December 28 Minute

Order to August 12, 2022, which would allow the attorneys who contracted COVIOD-19 time to

recover, provide the Parties and their experts time to reschedule the five adjourned depositions,

and also give the Parties an opportunity to consider whether any adjustments to their deposition

protocols are necessary to ensure the safety of all involved. The Parties also request an extension

of the deadline to file summary judgment motions to October 12, 2022, and a corresponding

extension of the summary judgment briefing schedule, to allow for the requested extension of the

expert deposition deadline.

                                          ARGUMENT

       The Parties can demonstrate the required “good cause” for the extension of the deadline

for completion of expert witness depositions and summary judgment briefing. See Fed. R. Civ.

P. 16(b)(4) (“A schedule may be modified only for good cause and with the judge’s consent”);

Local R. Civ. P. 16.4(a). The primary factor in determining whether good cause exists is the

diligence of the party seeking discovery before the deadline. United States v. Kellogg Brown &

Root Serv’s, Inc., 285 F.R.D. 133, 136 (D.D.C. 2012). The Parties have diligently sought to

meet the expert deposition deadlines and had noticed and scheduled all outstanding depositions

to be completed according to the June 10, 2022 deadline as set forth in the Scheduling Order. A



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reasonable extension of the remaining deadlines in the Scheduling Order will allow the Parties to

fully recover and expeditiously resume and complete the remaining examinations and briefing

they were on track to complete before being delayed by the pandemic.




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                                         CONCLUSION

       For the reasons set forth above, the Parties respectfully request that this Court grant their

Joint Motion to Amend the Scheduling Order. A Proposed Order is attached.


       Dated: June 6, 2022


                                              Respectfully submitted,

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